                                  Case 23-14843-PDR     Doc 41-1          Filed 12/01/23   Page 1 of 2
Label Matrix for local noticing               Wells Fargo Bank, N.A.                         Bank of America
113C-0                                        eXL Legal, PLLC                                Attn: Bankruptcy
Case 23-14843-PDR                             12425 28th Street North                        4909 Savarese Circle
Southern District of Florida                  Suite 200                                      Tampa, FL 33634-2413
Fort Lauderdale                               St. Petersburg, FL 33716-1826
Tue Aug 22 10:55:08 EDT 2023
Bank of America, N.A.                         Banker’s Healthcare Group c/o Pinnacle         Bankers Healthcare Group
PO Box 673033                                 150 3rd Ave S STE 900                          Cardmember Services
Dallas, TX 75267-3033                         Nashville, TN 37201-2034                       PO Box 332509
                                                                                             Murfreesboro, TN 37133-2509


(p)BANKERS HEALTHCARE GROUP LLC               Best Buy Credit Services                       (p)CARMAX AUTO FINANCE
ATTN BANKRUPTCY DEPT                          PO Box 70601                                   225 CHASTAIN MEADOWS CT
201 SOLAR STREET                              Philadelphia, PA 19176-0601                    KENNESAW GA 30144-5942
SYRACUSE NY 13204-1425


(p)JPMORGAN CHASE BANK N A                    Christopher J. Cali, Esq.                      Citibank
BANKRUPTCY MAIL INTAKE TEAM                   CJC Law Office                                 Attn: Bankruptcy
700 KANSAS LANE FLOOR 01                      201 Solar Street                               P.O. Box 790034
MONROE LA 71203-4774                          Syracuse, NY 13204-1425                        St Louis, MO 63179-0034


Citibank North America                        Citibank/The Home Depot                        Comenity Capital
Citibank SD MC 425                            Citicorp Credit Srvs/Centralized Bk dept       Attn: Bankruptcy Dept
5800 South Corp Place                         Po Box 790034                                  Po Box 182125
Sioux Falls, SD 57108                         St Louis, MO 63179-0034                        Columbus, OH 43218-2125


Comenity Capital/Floor & Decor                Discover Bank                                  Discover Financial
Attn: Bankruptcy                              Discover Products Inc                          Attn: Bankruptcy
Po Box 18125                                  PO Box 3025                                    Po Box 3025
Columbus, OH 43218                            New Albany, OH 43054-3025                      New Albany, OH 43054-3025


(p)EQUIFAX INC                                Experian                                       Kia Motors Finance
1550 Peachtree Street NE                      701 Experian Parkway                           Attn: Bankruptcy
Atlanta, GA 30309                             Allen, TX 75013-3715                           Po Box 20825
                                                                                             Fountain Valley, CA 92728-0825


Office of the US Trustee                      Onondaga County Clerk’s Office                 Renew Financial Group, LLC
51 S.W. 1st Ave.                              401 Montgomery Street                          3000 Lava Ridge Ct.
Suite 1204                                    Room 200                                       Ste. 230
Miami, FL 33130-1614                          Syracuse, NY 13202-2171                        Roseville, CA 95661-2803


Sheffield Financial                           Small Business Administration                  Syncb/Nautilus
c/o Truist Bank                               409 Third Street, SW                           Attn: Bankruptcy
Attn: Bankruptcy                              Washington, DC 20416-0005                      Po Box 965060
214 N Tryon St                                                                               Orlando, FL 32896-5060
Charlotte, NC 28202-1078

Syncb/Rheem Kwick Comfort                     Td Auto Finance                                (p)TRANSUNION
Attn: Bankruptcy                              Attn: Bankruptcy                               555 W ADAMS
Po Box 965060                                 Po Box 9223                                    CHICAGO IL 60661-3631
Orlando, FL 32896-5060                        Farmington Hills, MI 48333-9223
                                Case 23-14843-PDR              Doc 41-1          Filed 12/01/23       Page 2 of 2
Truist Bank                                          (p)DEPARTMENT OF THE TREASURY BFS DMS                Wells Fargo Bank N.A., d/b/a Wells Fargo Aut
Attn: Support Services                               P O BOX 830794                                       PO Box 130000
P.O. Box 85092                                       BIRMINGHAM AL 35283-0794                             Raleigh, NC 27605-1000
Richmond, VA 23286-0001


Wells Fargo Bank NA                                  Wells Fargo Bank, N.A.                               Wells Fargo Bank, N.A.
Po Box 14517                                         Default Document Processing                          Wells Fargo Card Services
Des Moines, IA 50306-3517                            MAC# N9286-01Y                                       PO Box 10438, MAC F8235-02F
                                                     P.O. Box 1629                                        Des Moines, IA 50306-0438
                                                     Minneapolis MN 55440-1629

Wells Fargo Card Services                            Wells Fargo Dealer Services                          Wells Fargo Home Mortgage
PO Box 77053                                         Attn: Bankruptcy                                     Attn: Bankruptcy
Minneapolis, MN 55480-7753                           1100 Corporate Center Drive                          1 Home Campus Mac X2303-01a
                                                     Raleigh, NC 27607-5066                               Des Moines, IA 50328-0001


World Omni Financial Corp.                           Adam I Skolnik                                       Mark L. Mariani
Attn: Bankruptcy                                     1761 West Hillsboro Blvd., Ste. 207                  162 SW 52nd Ave.
Po Box 991817                                        Deerfield Beach, FL 33442-1561                       Plantation, FL 33317-3619
Mobile, AL 36691-8817


Robin R Weiner
Robin R. Weiner, Chapter 13 Trustee
Post Office Box 559007
Fort Lauderdale, FL 33355-9007




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bankers Healthcare Group, LLC                        (d)Bankers Healthcare Group, LLC                     CarMax Auto Finance
10234 W. State Rd 84                                 201 Solar Street                                     Attn: Bankruptcy
Davie, FL 33324                                      Syracuse, NY 13204                                   Po Box 440609
                                                                                                          Kennesaw, GA 30160


Chase Auto Finance                                   Equifax                                              TransUnion
Attn: Bankruptcy                                     1550 Peachtree Street, NW                            555 West Adams St.
Po Box 901076                                        Atlanta, GA 30309-2468                               Chicago, IL 60661
Fort Worth, TX 76101


U.S. Dept. of Treasury                               End of Label Matrix
Attn: AWG Analyst                                    Mailable recipients    42
Administrative Wage Garnishment Liaison              Bypassed recipients     0
POB 830794                                           Total                  42
Birmingham, AL 35283-0794
